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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ERIC P. FIEDLER, M.D., CIVIL ACTION
Plaintiff

Vv.
Case No. 1:13-cv-02737-CCC

SHADY GROVE REPRODUCTIVE
SCIENCE CENTER, P.C., t/a
SHADY GROVE FERTILITY THE HONORABLE CHRISTOPHER
CENTERS AND SHADY GROVE C. CONNER
FERTILITY CENTER OF
PENNSYLVANIA, PLLC, d/b/a
SHADY GROVE FERTILITY,
Defendants

 

AMENDED COMPLAINT
I. The Parties
l, Plaintiff, Eric P. Fiedler, M.D. (“Dr. Fiedler”), is a physician and fel-
lowship trained, board-certified specialist in the field of Reproductive Endocrinol-
ogy and Infertility, who at relevant times delineated below operated an infertility
and reproductive medicine practice,’ ambulatory surgical center,’ and IVF/embry-
ology laboratory,’ at 2708 Commerce Drive, Harrisburg, Dauphin County, Penn-

sylvania, 17110.

 

? Advanced Center for Infertility and Reproductive Medicine, RPC (Dr. Fiedler’s “clinical practice”).
* Center for Reproductive Surgery, LLC (Dr. Fiedler’s “ambulatory surgical center”).
* Dr. Fiedler’s “laboratory”, which was one of two laboratories under Central Penn Reproductive Laboratory, LLC.
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2. Defendant, Shady Grove Reproductive Science Center, P.C., t/a
Shady Grove Fertility Centers, is a Maryland professional corporation which oper-
ates a number of fertility and reproductive care clinics in Maryland, Virginia, and
the District of Columbia. Defendant, Shady Grove Reproductive Science Center,
P.C., has been determined to be the sole member of Defendant Shady Grove Fertil-
ity Center of Pennsylvania, PLLC. Defendant Shady Grove Fertility Center of
Pennsylvania, PLLC, d/b/a Shady Grove Fertility, is a Pennsylvania professional
limited liability company which operates four fertility and reproductive care clinics
in Pennsylvania. Defendant Shady Grove Reproductive Science Center, P.C. and
Defendant Shady Grove Fertility Center of Pennsylvania, PLLC are hereinafter
collectively referred to as “Shady Grove”.

Il. Factual Background

A. Cryopreservation, Labeling and Inventory of Embryos in Dr.
Fiedler’s Laboratory

3. For cryopreservation of embryos in Dr. Fiedler’s laboratory, straws (to
contain embryos), a goblet (to contain straws) and a cane (to hold goblets), which
were all unique for that patient, were labeled, as follows:

Straw: MR#, straw number, number of embryos in that straw, date
frozen.
Goblet: name, MR#, date frozen (initial).

Cane: number.
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The embryos were then transferred into the straws, typically 1 to 3 embryos per
straw. The straws were frozen in liquid nitrogen and placed into the goblet, which
clicked onto the cane. The cane was placed into a plastic sleeve that prevents the
goblets from dislodging from the cane. The cane was placed in a canister (not
unique to the patient), which was numbered by the manufacturer, and stored in a
tank, which was also numbered.

4. Along with labeling the straw, goblet and cane, an Embryo Inventory
Card was recorded as follows: the patient’s name and MR#; straw numbers, and
for each straw number: number of embryos in that straw, date frozen (with type of
IVF and developmental day); cane number; canister number; and tank number.

oF All of the foregoing was performed, recorded and maintained i Dr.
Fiedler’s laboratory.

B. IVF Outcome Report used in Dr. Fiedler’s Clinical Practice

6. There is a form, entitled “IVF Outcome Report,” that was used in Dr.
Fiedler’s clinical practice (not in the laboratory), to readily track the progression of
embryo development and reference the number and quality of cryopreserved
embryos, for purposes of planning uterine transfer.

z The IVF Outcome Report was housed in the patient’s clinical chart,
which was maintained in Dr. Fiedler’s clinical practice office (not in the
laboratory), and was not available to laboratory personnel while laboratory work

was being performed and recorded in the laboratory. Rather, laboratory personnel

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would document on the [VF Outcome Report outside of the laboratory.

8. Given the purpose and use of the IVF Outcome Report, and given that
it was documented outside of the laboratory, it was never intended or used as an
inventory for cryopreserved embryos.

o, Any error in documentation on the IVF Outcome Report, made
outside of the laboratory, would not equate to a mislabeling of embryos or an error
in the inventory of cryopreserved embryos. Rather, since labeling and inventory
occurred in the laboratory, any mislabeling or error in inventory would need to
involve those records, i.e., the straw, goblet, cane and Embryo Inventory Card.

C. Patient X

1. Cryopreservation, Labeling and Inventory of Embryos

10. The procedure for cryopreservation of embryos, labeling and
recording inventory in Dr. Fiedler’s laboratory, set forth in section II. A. above,
was followed for Patient X, yielding 4 straws with the following numbers of
embryos per straw (n = number of embryos): straw #1: n=2, straw #2: n=2, straw
#3: n=4, straw #4: n=4).

11. By the end of September of 2011, by reason of medical disability
(orthopedic), Dr. Fiedler was compelled to close his ambulatory surgical center and
laboratory, and therefore no longer performed IVF, cryopreservation of embryos, or
uterine transfer of cryopreserved embryos.

12. Desiring transfer of cryopreserved embryos to her uterus, on April 5,

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2012, Patient X’s frozen embryos were shipped from Dr. Fiedler’s laboratory to
Shady Grove’s laboratory, where they were received on the same date.

13. OnApril 5, 2012, Shady Grove’s embryology laboratory logged in
Patient X’s embryos, identical to the recording of the Embryo Inventory Card at
Dr. Fiedler’s laboratory, as being contained in 4 straws, with the following
numbers of embryos per straw (n=number of embryos): straw #1: n=2, straw #2:
n=2, straw #3: n=4, straw #4: n=4.4

14. On September 4, 2012, Patient X’s straw #1 was thawed for embryo
transfer to her uterus. Shady Grove’s laboratory records (Embryo Thaw Sheet and
Embryo Disposition) for said thaw and transfer reflect, as concerns numbers of
embryos, that there had been 12 total embryos cryopreserved and that straw #1
(which was thawed for the transfer) contained 2 embryos, leaving 10 still
cryopreserved. Said records are the same as Dr. Fiedler’s Embryo Inventory Card
and Shady Grove’s embryology laboratory log as regards the total number of
embryos originally cryopreserved, and as regards straw #1.

15. Moreover, Shady Grove’s Pre-Thaw Embryo Inventory Preparation
for the September 4, 2012 thaw and transfer is identical to Dr. Fiedler’s Embryo
Inventory Card and Shady Grove’s embryology laboratory log, all reflecting 4

straws, with a total of 12 embryos, with the following numbers of embryos per

 

* Also on April 5, 2012, the embryologist who logged in the embryos sent an email to Patient X, simply relating that

the embryos had arrived safely.
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straw (n=number of embryos): straw #1: n=2, straw #2: n=2, straw #3: n=4, straw
#4: n=4.

16. All of the foregoing records from Dr. Fiedler and Shady Grove, are
consistent in recording the number of straws (4), total number of embryos (12),
and/or number of embryos per straw (straw #1: n=2, straw #2: n=2, straw #3: n=4,
straw #4: n=4).

17. The September 4, 2012 embryo transfer was not successful, leading to
another attempt at embryo transfer, the plan for which, as recorded by Shady Grove
in a physician note of 9/19/12, was to “thaw 4 and [transfer] 2 best”. Again, in late
October of 2012, Shady Grove records (Patient X’s email of 10/22/12 and
physician confirmation of 10/23/12) confirm that the Shady Grove doctor and
Patient X had discussed thawing 4 embryos, and confirm the continuing plan to
thaw 4 embryos. The fact that Shady Grove’s plan was to thaw 4 embryos is
entirely consistent with the remaining straws containing the following numbers of
embryos, as recorded by both Dr. Fiedler and Shady Grove as set forth above:
straw #2: n=2, straw #3: n=4, straw #4: n=4.

18. On October 23, 2012, Patient X’s straw #s 2 and 3 were thawed for
embryo transfer to her uterus. Shady Grove’s laboratory records for said thaw and
transfer (Embryo Thaw Sheet and Embryo Disposition) reflect, as concerns
numbers of embryos, that there were at that time a total of 10 remaining

cryopreserved embryos (2 having been used on 9/4/12), and that straw #s 2 and 3

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(which were thawed for the transfer) contained 2 and 4 embryos, respectively,
leaving 4 still cryopreserved (in straw #4). Said records are the same as Dr.
Fiedler’s Embryo Inventory Card and Shady Grove’s laboratory log as regards total
number of embryos originally cryopreserved, and as regards straw #s 2, 3 and 4,
and do not reflect any inconsistency in the numbers of embryos, or any reluctance
to use the embryos from straw #s 2 and 3.

19. Moreover, Shady Grove’s “Pre-Thaw Embryo Inventory Preparation”
record for the October 23, 2012 thaw and transfer is identical to Dr. Fiedler’s
Embryo Inventory Card and Shady Grove’s embryology laboratory log, as regards
straw #s 2, 3 and 4, with the following numbers of embryos per straw (n=number
of embryos): straw #2: n=2, straw #3: n=4, straw #4: n=4.

20. Finally, Shady Grove’s computer spreadsheets reflect that 2 embryos
were thawed on September 4, 2012 and were graded 100% (consistent with the
grading of embryos in straw #1 as reflected in the Embryo Thaw Sheet), and 6
embryos were thawed on October 23, 2012, 4 of which survived and were graded
100%, 95-100%, 95%, and 90% (consistent with the grading of embryos which
survived in straw #s 2 and/or 3 as reflected in the Embryo Thaw Sheet), leaving 4
embryos remaining cryopreserved in storage (in straw #4).

21. Consistent with Dr. Fiedler’s Embryo Inventory Card, all of the
foregoing records from Shady Grove represent all of its contemporaneous

embryology laboratory records, and are consistent with the number of straws (4),

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total number of embryos (12), and number of embryos per straw (straw #1: n=2,
straw #2: n=2, straw #3: n=4, straw #4: n=4).°

22. Based on the foregoing labeling and inventory match, there was no
potential that Patient X’s embryos had been mislabeled, or that there was any error
in inventory.°

2. Error on the IVF Outcome Report

23. InApril of 2012, Shady Grove related to Dr. Fiedler that a portion of
the documentation on the IVF Outcome Report did not match the Embryo
Inventory Card; specifically, Shady Grove described that although the Embryo
Inventory Card recorded the number of straws, total number of embryos, and
distribution of embryos per straw as follows: straw #1: n=2, straw #2: n=2, straw
#3: n=4, straw #4: n=4, the [VF Outcome Report had been documented as follows:

straw #1: n=2, straw #2: n=2, straw #3: n=2, straw #4: n=2, straw #5: n=4.’ The

 

° Records which reflect otherwise were addressed in the Verified Motion of Petitioner, Eric P. Fiedler, M.D. to Com-
pel Discovery Previously Ordered, and for Computer Forensic Examination of Shady Grove Records pertaining to
Patient X, at Section Ill.

® Shady Grove discarded Patient X’s straw #s 1, 2 and 3 after thaw and use of the within embryos. It is believed
that Patient X’s straw #s 1, 2 and 3 would not have been discarded after thaw and use of the within embryos if
they had been “mislabeled” {i.e., labeled inconsistent with the number of embryos in the straws and the number
of embryos recorded on the Embryo Inventory Card).

7 On August 29, 2013, a conference call was held between representatives of Shady Grove and Dr. Fiedler, with
counsel for both parties, during which Shady Grove described the same charting error that it had described in April
of 2012. Counsel for Dr. Fiedler confirmed Shady Grove’s description of the charting error by letter to counsel for
Shady Grove dated September 17, 2013, as follows:

Please allow this correspondence to summarize the events which have been the subject of our recent

communications ... .
* * OF

On August 29, 2013, during a conference call with Shady Grove representatives Marc Portmann and Gil

Mottla, the following specific explanation was offered .... There was an isolated event where the docu-

mentation on the IVF Outcome Report pertaining to a set of patients’ embryos preserved at Dr. Fiedler’s

practice on 12/19/10 (8 embryos) and 12/20/10 (4 embryos) did not match the embryo inventory card.

Specifically, the embryo inventory card (which contained cross-outs) identified the 4 straws that existed,
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foregoing description is entirely consistent with the contemporaneous embryology
laboratory records from both Dr. Fiedler and Shady Grove.

24. The error was limited to the documentation of numbers (straws and
embryos per straw) for this one patient (Patient X), on the [VF Outcome Report,
outside of the laboratory, in the clinical practice office chart; thus, it does not
equate to a mislabeling or an error in inventory. Nor does it involve Patient X’s
identifiers, much less any other patient; thus, it does not equate to a
misidentification or mix-up of embryos.

25. After speaking with his embryologist, Dr. Fiedler understood and
explained why and how the error was made in the documentation on the IVF

Outcome Report.* Shady Grove expressed understanding, raised no concern, and

 

as follows (straw number = number of embryos in straw): 1=2, 2=2, 3=4, 4=4. The IVF Outcome Report
read as follows: 1=2, 2=2, 3=2, 4=2, 5=4. Dr. Fiedler was contacted at the time by the Shady Grove em-
bryologist who recorded Dr. Fiedler’s explanation that “there were not enough straws to do 5” (which ex-
planation, although partially recorded, makes sense).

* ok OF
To summarize what we understand from our discussion with you: (1) the embryo inventory card was cor-
rect in the information that it contained (albeit, with some cross outs), (2) the information on the embryo
inventory card matched the labeling on the goblet and straws that contained the embryos... .

Furthermore, Dr. Fiedler and his counsel confirmed Shady Grove’s description of the error in the Verified Petition
for Preliminary Injunction of Eric P. Fiedler, M.D. (see paragraphs 18-21), filed on October 10, 2012. At no time has
Shady Grove challenged the foregoing recitations of Shady Grove’s description of the charting error.

* On 12/19/10, the IVF Outcome Report was filled out in the embryologist’s office (outside of the embryology la-
boratory), before cryopreservation of 8 embryos that were ready, as follows: straw #1 = 2, straw #2 = 2, straw #3 =
2, straw #4 = 2. Later that day, in the laboratory, the embryologist realized that she only had 4 straws, and needed
to reserve one straw for 4 embryos that were continuing to develop and would be ready for cryopreservation the
next day, so she cryopreserved the 8 embryos that were ready, and labeled straws and recorded the Embryo In-
ventory Card, all accurately, as follows: straw #1: n=2, straw #2: n=2, straw #3: n=4. She reserved straw #4 for the
4 developing embryos. The next day, 12/20/10, she cryopreserved the remaining 4 embryos, and the straw was
labeled and Embryo Inventory Card recorded, both accurately, as follows: straw #4: n=4, She later located the
chart in the practice offices, and completed the IVF Outcome Report by adding an additional straw with 4 embryos,
as follows: straw #5=4.

Thus, there was no error made in the laboratory: cryopreservation, labeling of straws and recording the Embryo
Inventory Card were all accurate, as follows: straw #1: n=2, straw #2: n=2, straw #3: n=4, straw #4: n=4. The only
error was in charting the number of straws, and distribution of embryos per straw, on the IVF Outcome Report,

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that was the last communication between Shady Grove and Dr. Fiedler on the topic

for over a year.

3. Shady Grove Transferred Patient X’s Thawed Embryos to her
Uterus, and Continues to Preserve her Unthawed Embryos

26. Patient X was not told that her embryo straws had been mislabeled;
rather, she was told that there was only an issue with paperwork that was nothing
serious. It was not implied to Patient X that there was any issue with transferring
her embryos to her uterus; in fact, the embryos from straw #s 1, 2, and 3 were
transferred to her uterus, and the embryos in straw #4 continue to be preserved for
future transfer.

D. Shady Grove has been Misrepresenting: 1) that Dr. Fiedler

Mislabeled and/or Mixed Up Embryos, and 2) that for that
Reason No Embryos Cryopreserved in his Laboratory would be
Used for Uterine Transfer

27. In May of 2012, by reason of medical disability (orthopedic), Dr.
Fiedler was compelled to close his clinical practice and his remaining laboratory.
In connection therewith, in October of 2012 he transitioned his practice and his
patient charts to Shady Grove. As of that time, Shady Grove had not raised any
concern with Dr. Fiedler regarding labeling, inventory, identity or transfer to the

uterus of embryos cryopreserved in his laboratory.

28. In July of 2013, Dr. Fiedler first learned that Shady Grove had been

 

which again is only used in the clinical practice office for planning purposes; it is not used or intended for embryo

inventory.
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defamatory statements—namely, that Dr. Fiedler had mislabeled and/or

mixed up several of his patients’ embryos, and that for that reason no
embryos cryopreserved in his laboratory would be used for uterine transfer—
to multiple patients in the spring and summer of 2013.’

Patient Kis d cent for wi ' ; 7m

29. The defamatory statements were communicated by Shady Grove
doctors Jason G. Bromer, M.D. and/or Melissa A. Esposito, M.D. to the

following patients (couples or individuals, identified by last initial): Patient(s)

Z; Patient(s) N; Patient(s) W; and Patient(s) B.'

 

° Shady Grove has control of the records which indicate the precise dates that the defamatory communica-
tions were made to patients.
* The Health Insurance Portability and Accountability Act of 1996 (HIPAA) prohibits Plaintiff from publi-
cally identifying the patients to whom defamatory statements were communicated. However, Plaintiff is able
to produce the full names of the patients if this Court requests in-camera review, and Plaintiff will produce
the full names to Shady Grove in discovery.

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30. Atall relevant times, Drs. Bromer and Esposito were actual or
ostensible employees and agents of Shady Grove acting within the course and

within the scope of their employment with their principal Shady Grove.

 

31. More specifically, on March 6, 2013, Patient(s) Z was/were told by

Shady Grove Drs. Esposito and Bromer from Shady Grove offices that
“several other patients” embryos from Dr. Fiedler’s lab were “mislabeled”
and for that reason Shady Grove would not perform uterine transfer of any
embryos from Dr. Fiedler’s lab.

39 Tastead-Shady- Grove has financial incent |

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32. Patient(s) N was/were told by Shady Grove from Shady Grove
offices in the spring and/or summer of 2013 that Shady Grove would not
perform uterine transfer of their embryos from Dr. Fiedler’s lab, due to “some

mislabeling.”

 
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33. Patient(s) W was/were seen at Shady Grove for multiple visits in
February of 2013, including by Dr. Bromer, preparing for uterine transfer of
embryos from Dr. Fiedler’s lab, before being told by Drs. Bromer and
Esposito from Shady Grove offices on March 7, 2013 that Shady Grove
received embryos that were supposed to belong to one patient of Dr. Fiedler’s,
but instead were found to belong to a different patient (i.e., were mixed-up),
and for that reason Patient W’s embryos would not be used for uterine
transfer. This timeline for Patient(s) W reflects that it was not until February
or March of 2013 that Shady Gove reversed course and refused to use
embryos from Dr. Fiedler’s lab.

34. Patient(s) B was/were seen at Shady Grove by Dr. Bromer over
the winter of 2012 for several visits, preparing for uterine transfer of embryos
from Dr. Fiedler’s lab, before being told by Dr. Bromer in March of 2013 from
Shady Grove offices that Shady Grove received documentation indicating that
embryos from Dr. Fiedler’s lab did not belong to the patients they were
supposed to be from (i.e., were mixed-up) and for that reason Shady Grove
would not perform uterine transfer of any embryos from Dr. Fiedler’s lab.
This timeline for Patient(s) B reflects that it was not until the spring of 2013
that Shady Gove reversed course and refused to use embryos from Dr.

Fiedler’s lab.

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35. Counsel for Patient(s) Z has informed counsel for Dr. Fiedler that
Patient(s) Z is/are bringing a medical malpractice suit against him, stemming
from the defamatory statements Drs. Bromer and Esposito communicated to
Patient(s) Z and Patient(s) Z’s subsequent discarding of embryos. For this
reason, Dr. Fiedler has personally incurred legal expenses.

36. Shady Grove’s representations are false for the following reasons:

a. Patient X is the only patient for whom there was any issue
with documentation, and

b. Patient X’s embryos were not mislabeled and did not belong
to a different patient.

37. The clear meaning of Shady Grove’s misrepresentations, that
there has been embryo misidentification and/or mix-up, is patently wrongful.

38. Shady Grove’s statements that it would not transfer to the uterus
any embryos that were cryopreserved in Dr. Fiedler’s laboratory by reason of
mislabeling or mix-up are misrepresentations because:

a. The facts upon which the statements are allegedly based are
not true, since embryos were not mislabeled or mixed-up for
Patient X, much less for multiple patients;

b. Shady Grove transferred Patient X’s thawed embryos from
Dr. Fiedler’s lab to her uterus, and continues to preserve the

remaining embryos for transfer to her uterus, and;

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c. It was not until the spring of 2013 that Shady Grove
reversed course and refused to use embryos from Dr.
Fiedler’s lab.

39. Instead, Shady Grove has financial incentive not to use embryos
cryopreserved in an outside laboratory, but rather to pursue fresh IVF, as follows:

a. There is increased profit on fresh IVF as opposed to uterine
transfer of cryopreserved embryos; and,

Eb. The ability to market higher IVF success rates (arising out of
the fact that couples with proven success (they became pregnant
and therefore still have preserved embryos) are being routed
back for fresh IVF).

40. Shady Grove’s misrepresentations and-untateral decision nette

 

laberatery are recklessly prejudicial, in that embryos have been, and are in

immediate jeopardy of being, unnecessarily and irreparably discarded, in favor of
the pursuit of fresh IVF, at emotional and financial cost to patients. Moreover,
Shady Grove’s conduct is defamatory to Dr. Fiedler. The foregoing tortious
conduct is of a continuing nature in that, unless corrected by injunctive relief as set
forth below in the Relief Requested, there will be continuing refusal, by reason of
the misrepresentations, to use embryos cryopreserved in Dr. Fiedler’s laboratory

for uterine transfer, resulting in: 1) embryos being discarded, and 2) continuing

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defamation of Dr. Fiedler.
III. Causes of Action

[The Fraud/Intentional Misrepresentation count has been stricken. ]

A. Count 1 (Defamation)

42 41. Plaintiff repeats and realleges paragraphs 1-44 40.

43 42. The actions of Shady Grove, by and through its agents, Drs.
Bromer and Dr. Esposito, satisfy the elements of a cause of action for defamation,
as follows: (1) the defamatory character of the communication; (2) its publication
by the defendant; (3) its application to the plaintiff; (4) the understanding by the
recipient of its defamatory meaning; (5) the understanding by the recipient of it as
intended to be applied to the plaintiff; (6) special harm resulting to the plaintiff
from its publication; and (7) abuse of a conditionally privileged occasion.

44 43.The communications by Shady Grove that several of Dr. Fiedler’s
patients’ embryos had been “mislabeled” and mixed-up is are defamatory in that
they damaged the reputation of Dr. Fiedler as to lower him in the estimation of the
community and will deter future patients from treating with him and other
community doctors from referring to him.

44. Shady Grove doctors Jason G. Bromer, M.D. and/or Melissa A.
Esposito, M.D. published defamatory statements from their Shady Grove
offices in the spring and summer of 2013 to the following patients: Patient(s)

Z; Patient(s) N; Patient(s) W; and Patient(s) B, as more specifically described

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Fiedler’staboratery and his laboratory.

47 46.The understanding by the recipients of the communication’s

defamatory meaning is obvious given its nature, as evidenced by the fact that one
ef Dr-Fiedler’s-patients Patient(s) Z has/have already acted on Dr. Fiedler’s
damaged reputation by discarding embryos that had been cryopreserved in his
laboratory.

48 47.The understanding by the recipients of the communication as intended
to be applied to Dr. Fiedler is clear, i.e., that proper labeling of embryos
cryopreserved in Dr. Fiedler’s laboratory cannot be trusted.

49 48. Plaintiff alleges that the facts support a claim for defamation per se,
for which no claim for special damages is required, because the communication at
issue ascribes to Dr. Fiedler conduct that would adversely affect his fitness for the
proper conduct of practicing medicine, to which he intends to return. Nonetheless,
Dr. Fiedler has incurred special damages in the form of legal expenses, as
alleged in paragraph 35.

38 49. No conditionally privileged occasion applies to this case.

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Nevertheless, to the extent that such a privilege is deemed to exist, Shady Grove

abused any such privilege by communicating +#+-anintentienal er recklessmanner
and by-exceedine the tecessary seepe ot sueh a cesauteation odious falsehoods
in an intentional or reckless manner in order to reap financial gain from the
very patients with whom they purportedly have a common interest.
WHEREFORE, Plaintiff, Eric P. Fiedler, M.D., requests relief as set forth in

Section IV. below.

IV. Relief Requested

54 50. As set forth above, Plaintiff has suffered an irreparable injury, is
without adequate remedy at law, a remedy in equity is warranted considering the
balance of hardships between the Plaintiff and Defendants, and the public interest
would not be disserved by injunctive relief.

WHEREFORE, Plaintiff respectfully asks that this Honorable Court:

A. Prohibit Shady Grove from representing: 1) that embryos were
mislabeled or mixed-up in Dr. Fiedler’s laboratory, and/or 2) that by reason of
mislabeling or mixing-up of embryos in Dr. Fiedler’s laboratory, Shady Grove will
not transfer to the uterus embryos from Dr. Fiedler’s laboratory;

B. | Compel Shady Grove to identify those patients and healthcare
providers and/or healthcare facilities to whom Shady Grove has represented: 1)
that embryos were mislabeled or mixed-up in Dr. Fiedler’s laboratory, and/or 2)

that by reason of mislabeling or mixing-up of embryos in Dr. Fiedler’s laboratory,

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Shady Grove will not transfer to the uterus embryos from Dr. Fiedler’s laboratory;
and require that Shady Grove convey to said patients and healthcare providers
and/or facilities, in writing, that, contrary to its misrepresentations, no embryos
were mislabeled or mixed-up in Dr. Fiedler’s laboratory and consequently there

was no valid basis for Shady Grove’s decision not to transfer to the uterus embryos
that were cryopreserved in Dr. Fiedler’s laboratory;

C. | Order custody of the charts of Dr. Fiedler’s former patients, in the
form in which they were transitioned by Dr. Fiedler to Shady Grove, be
transitioned to a third party facility agreeable to Dr. Fiedler, in order to preserve the

documentation as it existed at the time of transition by Dr. Fiedler to Shady Grove;

and,

D. Grant Dr. Fiedler such other and further relief as this Court deems

equitable, just, and proper.

Respectfully submitted,

FOULKROD ELLIS

Profess ional, Corporation

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Date: y | | t By:

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Case 1:13-cv-02737-CCC Document 30 Filed 08/01/14 Page 21 of 22
VERIFICATION

I, ERIC P. FIEDLER, M.D., hereby certify that I have read the foregoing Amended
Complaint, which has been drafted by counsel on my behalf, and that the facts set forth therein
are true and correct to the best of my knowledge, information and belief.

This statement and Verification are made subject to the penalties of 18 Pa.C.S.A. §4904,
relating to unsworn ibsication to authorities; I verify that all the statements made in the

foregoing are true and correct and that false statements may subject me to the penalties of 18

Pa.C.8.A. §4904,

Date: Tht (4

 

 

Eric P. Fiedler, M.D.
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CERTIFICATE OF SERVICE
I hereby certify that I caused a true and correct copy of the foregoing

document(s) to be served via the Court’s ECF system on the following counsel of

record.

Brian T. Feeney, Esquire
Greenbert Traurig, LLP
2700 Two Commerce Square
2001 Market Street
Philadelphia, PA 19103
(Counsel for Respondent)

FOULKROD ELLIS
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